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 1                                                                              The Honorable Tana Lin
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 8
                               UNITED STATES DISTRICT COURT
 9                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
10
     STATE OF WASHINGTON, et al.,                             NO. 2:25-cv-00848-TL
11
                                PLAINTIFFS,                   STIPULATED NOTICE OF
12                                                            EXTENDED DEADLINES
               v.
13
     U.S. DEPARTMENT OF
14   TRANSPORTATION et al.,
15                              DEFENDANTS.
16

17             Pursuant to Judge Lin’s Standing Order for All Civil Cases, the Parties have agreed to

18   move the following deadlines:

19       Deadline for FRCP 26(f) Conference:                          July 23, 2025
20       Initial Disclosures Pursuant to FRCP 26(a)(1):               August 6, 2025
21       Combined Joint Status Report and Discovery Plan as
         Required by FRCP 26(f) and Local Civil Rule:                 August 20, 2025
22

23   The Parties request that the Clerk reset the deadlines as noticed. 1

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     1
      Defendants reserve the right to argue that Plaintiffs’ APA based claims are exempt from
26   discovery.

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 1          DATED this 6th day of June 2025.
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